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     * REDACTED VERSION OF DOCUMENT(S) SOUGHT TO BE SEALED *

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11 Counsel for Plaintiffs and Proposed Lead
   Counsel for the Class
12
                               UNITED STATES DISTRICT COURT
13
                            NORTHERN DISTRICT OF CALIFORNIA
14
                                        SAN JOSE DIVISION
15
   ROBERT COLMAN and HILARY                     ) No. 5:16-cv-06822-NC
16 TAUBMAN-DYE, Individually and on Behalf )
   of All Others Similarly Situated,            ) CLASS ACTION
17                                              )
                                 Plaintiffs,    ) DECLARATION OF REED R.
18                                              ) KATHREIN IN SUPPORT OF
           vs.                                  ) PLAINTIFFS’ MOTION FOR CLASS
19                                              ) CERTIFICATION UNDER RULE 23(B)(3)
   THERANOS, INC., et al.,                      )
20                                              ) JUDGE:        Hon. Nathanael M. Cousins
                                 Defendants.    ) DATE:         March 28, 2018
21                                              ) TIME:         1:00 p.m.
                                                   CTRM:        7, 4th Floor
22

23

24

25                          *   *   *   FILED UNDER SEAL         *     *      *
26
27

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     * REDACTED VERSION OF DOCUMENT(S) SOUGHT TO BE SEALED *

 1             I, REED R. KATHREIN, hereby declare as follows:

 2             1.           I am an attorney duly licensed to practice before all the courts of the state of

 3 California. I am a member of the law firm of Hagens Berman Sobol Shapiro LLP, Counsel of

 4 record for Plaintiffs Robert Colman and Hilary Taubman-Dye in the above-entitled action. I have

 5 personal knowledge of the matters stated herein, and, if called upon, I could and would

 6 competently testify thereto.

 7             2.           Plaintiffs seek an order pursuant to Rule 23 of the Federal Rules of Civil Procedure

 8 (the “Rules”), (1) certifying a class pursuant to Rule 23(b)(3) of “all persons or entities who, from

 9 July 29, 2013, through October 5, 2016, purchased or acquired securities of an entity for the

10 purpose of making corresponding purchases of Theranos securities”; (2) appointing Plaintiffs

11 Robert Colman and Hilary Taubman-Dye as Class Representatives; and (3) appointing the firms

12 of Hagens Berman Sobol Shapiro LLP and Robbins Geller Rudman & Dowd LLP as counsel for

13 the class.

14             3.           Attached hereto are true and correct copies of the following documents and

15 testimony referenced in Plaintiffs’ Motion for Injunctive Relief and to Provisionally Certify a

16 Mandatory Limited Fund Class, filed herewith:

17        Documents Produced by Defendants
18             Exhibit A:          Entities in which Investors Purchased Securities for the Express Purpose
                                   of Making Corresponding Purchases of Theranos Securities, not including
19                                 Family Trusts or Family Investment Vehicles;
20
               Exhibit B:          E-mail correspondence between Elizabeth Holmes and General Partner of
21                                                        , Bates-numbered TH-COL0004052415, produced in
                                   the above-captioned litigation and designated “Confidential” by Defendant
22                                 Theranos, Inc. pursuant to the Stipulated Protective Order, ECF No. 62
                                   (“protective order”) in this action;
23
               Exhibit C:          E-mail correspondence between Elizabeth Holmes, Sunny Balwani,
24
                                   Theranos, Inc. staff, and marketing company representatives regarding
25                                 Theranos, Inc.’s “launch strategy”, Bates-numbered TH-COL0003642135-
                                   TH-COL0003642136, produced in the above-captioned litigation and
26                                 designated “Confidential” by Defendant Theranos, Inc. pursuant to the
                                   protective order in this action;
27

28

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     * REDACTED VERSION OF DOCUMENT(S) SOUGHT TO BE SEALED *

 1             Exhibit D:   E-mail correspondence from Sunny Balwani to Scott Marmer forwarding
                            earlier communications with
 2                                   , Bates-numbered TH-COL0002516570-TH-COL0002516575,
                            produced in the above-captioned litigation and designated “Confidential”
 3
                            by Defendant Theranos, Inc. pursuant to the protective order in this action;
 4
               Exhibit E:   E-mail correspondence dated Sep. 5, 2013 from Elizabeth Holmes to
 5                          Sunny Balwani forwarding communications with Walgreens
                            representative, Bates-numbered TH-COL0003618741 and TH-
 6                          COL0003618744-TH-COL-0003618746, produced in the above-captioned
                            litigation and designated “Confidential” by Defendant Theranos, Inc.
 7
                            pursuant to the protective order in this action;
 8
               Exhibit F:   E-mail correspondence between Elizabeth Holmes, Sunny Balwani,
 9                          Theranos, Inc. staff, and marketing company representatives regarding
                            Theranos, Inc.’s “Launch Plan”, and the e-mail’s attachment containing
10                          presentation slides, Bates-numbered TH-COL0003218745-TH-COL-
11                          0003618747, produced in the above-captioned litigation and designated
                            “Confidential” by Defendant Theranos, Inc. pursuant to the protective
12                          order in this action;

13             Exhibit G:   E-mail correspondence between Elizabeth Holmes, Sunny Balwani,
                            Theranos, Inc. staff, and marketing company representatives containing
14                          information regarding Elizabeth Holmes’s preparation for interview with
                            Joe Rago, Bates-numbered TH-COL0001841395-TH-COL-0001841402,
15
                            produced in the above-captioned litigation and designated “Confidential”
16                          by Defendant Theranos, Inc. pursuant to the protective order in this action;

17             Exhibit H:   E-mail correspondence from Elizabeth Holmes dated Aug. 1, 2013
                            regarding lists of “direct shareholders” and “indirect shareholders”, Bates-
18                          numbered TH-COL0004030988- TH-COL0004030989, produced in the
                            above-captioned litigation and designated “Highly Confidential –
19
                            Attorneys’ Eyes Only” by Defendant Theranos, Inc. pursuant to the
20                          protective order in this action;

21             Exhibit I:   E-mail correspondence between Elizabeth Holmes and Sunny Balwani
                            dated Nov. 15, 2013 and Dec. 21, 2013, forwarding communications with
22                          Partner at               , Bates-numbered TH-COL000949733-TH-COL-
23                          000949735 and TH-COL0002082856-TH-COL0002082859, produced in
                            the above-captioned litigation and designated “Confidential” by Defendant
24                          Theranos, Inc. pursuant to the protective order in this action;

25             Exhibit J:   E-mail correspondence from Elizabeth Holmes dated Dec. 16, 2013
                            containing a “memo to stockholders”, Bates-numbered TH-
26                          COL0001070430-TH-COL-0001070431, produced in the above-captioned
27                          litigation and designated “Confidential” by Defendant Theranos, Inc.
                            pursuant to the protective order in this action;
28

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     * REDACTED VERSION OF DOCUMENT(S) SOUGHT TO BE SEALED *

 1
               Exhibit K:   Eric J. Topol, M.D.’s article published by Medscape on Dec. 11, 2013,
 2                          entitled “Topol Reviews 2013: A Year of Revolutionizing Medicine,”
                            available at https://www.medscape.com/viewarticle/817648;
 3

 4             Exhibit L:   Eric J. Topol, M.D.’s article published by Medscape on Nov. 18, 2013,
                            entitled “Creative Disruption? She’s 29 and Set to Reboot Lab Medicine,”
 5                          available at https://www.medscape.com/viewarticle/814233;
 6             Exhibit M:   E-mail correspondence from Elizabeth Holmes dated Sep. 14, 2013,
                            containing communications to shareholders, Bates-numbered TH-
 7
                            COL0004055350-TH-COL0004055351, produced in the above-captioned
 8                          litigation and designated “Confidential” by Defendant Theranos, Inc.
                            pursuant to the protective order in this action;
 9
               Exhibit N:   E-mail correspondence from Sunny Balwani to Elizabeth Holmes
10                          forwarding communication from Laboratory Director Adam Rosendorff
11                          regarding validation of instruments and placement of instruments in
                            “R&D”, Bates-numbered TH-COL0004065740, produced in the above-
12                          captioned litigation and designated “Confidential” by Defendant Theranos,
                            Inc. pursuant to the protective order in this action;
13
               Exhibit O:   E-mail correspondence from Elizabeth Holmes to Laboratory Director
14                          Adam Rosendorff containing communication from Adam Rosendorff
15                          regarding proficiency testing, Bates-numbered TH-COL0003657132-TH-
                            COL0003657133, produced in the above-captioned litigation and
16                          designated “Confidential” by Defendant Theranos, Inc. pursuant to the
                            protective order in this action;
17
               Exhibit P:   Defendant Theranos, Inc.’s Responses and Objections to Plaintiffs’ First
18                          Set of Interrogatories, (Partner Litigation) (“First Set Partners Interrog.”),
19                          Bates-numbered TH-COL0000005253-TH-COL0000005389, produced in
                            the above-captioned litigation and designated “Confidential” by Defendant
20                          Theranos, Inc. pursuant to the protective order in this action;

21             Exhibit Q:   Defendant Theranos, Inc.’s Responses and Objections to Plaintiffs’
                            Second Set of Interrogatories (from Partner Investments, L.P. et al. v.
22
                            Theranos, Inc., et al., C.A. No. 12816-VCL (Del. Ch. Mar. 23, 2017))
23                          (“Partner” or “Partner Litigation”) (“Second Set Partner Interrog.”),
                            Bates-numbered TH-COL0000007384-TH-COL0000007447, produced in
24                          the above-captioned litigation and designated “Confidential” by Defendant
                            Theranos, Inc. pursuant to the protective order in this action;
25
               Exhibit R:   Defendant Theranos, Inc.’s Supplemental Responses and Objections to
26
                            Plaintiffs’ First Set of Interrogatories (Partner Litigation) (“Supplement to
27                          First Set Partner Interrog.”), Bates-numbered TH-COL0000007246-TH-
                            COL0000007308, produced in the above-captioned litigation and
28

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     * REDACTED VERSION OF DOCUMENT(S) SOUGHT TO BE SEALED *

 1                          designated “Confidential” by Defendant Theranos, Inc. pursuant to the
                            protective order in this action;
 2
          Deposition Transcripts and Transcript Exhibits
 3
               Exhibit S:   Excerpts of the Deposition of Christian Holmes, as taken on Apr. 5, 2017
 4
                            in the Partner Litigation, produced by Defendant Theranos, Inc. in this
 5                          action, and designated “HIGHLY CONFIDENTIAL – ATTORNEYS’
                            EYES ONLY” by defendant Theranos, Inc. pursuant to the protective
 6                          order in this action, including pp. 152-167, and 266-272;
 7             Exhibit T:   Excerpts of the Deposition of Donald A. Lucas, as taken on Jan. 12, 2018,
                            produced in this action, including pp. 18-20, 26-45, and 63-71 and
 8
                            designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
 9                          by counsel for Lucas pursuant to the protective order in this action;

10             Exhibit U:   Excerpts of the 30(b)(6) deposition of Theranos, Inc., by and through its
                            corporate designee, Alexander White, as taken on Jun. 22, 2017, produced
11                          in this action, including pp. 42-43, 86-133 and designated “HIGHLY
12                          CONFIDENTIAL” by defendant Theranos, Inc. pursuant to the protective
                            order in this action;
13
               Exhibit V:   Excerpts of the Deposition of Adam Rosendorff, M.D., as taken on Jan.
14                          16, 2018, produced in this action, including pp. 31-36, 152, 197-205, 254-
                            262, and 275-276 and designated “CONFIDENTIAL” pursuant to the
15                          protective order in this action;
16
               Exhibit W:   Transcript of interview of Elizabeth Holmes by George Shultz, Preventive
17                          Medicine (Stanford Institute for Economic Policy Research SIEPR
                            Summit on Mar.13, 2015), marked as Exhibit 722 (TH-COL0003422670-
18                          TH-COL0003422682) of the Deposition of Secretary George Shultz taken
                            on Apr. 4, 2017 in the Partner Litigation, produced in this action by
19                          Defendant Theranos, Inc. designated “CONFIDENTIAL” pursuant to the
20                          protective order in this action;

21             Exhibit X:   Exhibits 9 (Bates-numbered TH-COL0000004215-TH-COL00000016), 23
                            (TH-COL0000000340), 24 (TH-COL0000004233), 25 (TH-
22                          COL0000004335-TH-COL0000004341), 26 (TH-COL0000004209-4214),
                            27 (TH-COL0000004233), and 28 of the 30(b)(6) deposition of Theranos,
23
                            Inc., by and through its corporate designee, Alexander White (“White
24                          Deposition”), as taken on June 22, 2017, produced in this action and
                            designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
25                          by defendant Theranos, Inc. pursuant to the protective order in this action;

26             Exhibit Y:   Exhibits 38 (Bates-numbered LVG_COLMAN00004588), 39
                            (LVG_COLMAN00003992-LVG_COLMAN0003993), 40
27
                            (LVG_COLMAN00004260), 41 (LVG_COLMAN00004581) (designated
28                          “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”) and 42

     DECL. OF REED R. KATHREIN ISO PLS.’ MOT. FOR CLASS CERTIFICATION - 5:16-cv-06822-NC             -4-
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     * REDACTED VERSION OF DOCUMENT(S) SOUGHT TO BE SEALED *

 1                           (TH-COL0002480473) (designated “CONFIDENTIAL pursuant to the
                             protective order in this action”) of the Deposition of Donald A. Lucas, as
 2                           taken on January 12, 2018, produced in this action;
 3
               Theranos’s Public Representations
 4
               Exhibit Z:    Jul. 29, 2013 press release published by Theranos, Inc. entitled, “Theranos
 5                           Announces New Members of its Board of Directors” from Theranos’s
                             website [accessible at https://news.theranos.com/2013/07/29/theranos-
 6                           announces-new-members-of-its-board-of-directors/];
 7             Exhibit AA:   Plaintiffs Dep. Ex. 45: The Wall Street Journal article, dated Sep. 8, 2013,
                             entitled “Elizabeth Holmes: The Breakthrough of Instant Diagnosis”;
 8

 9             Exhibit BB:   Plaintiffs Dep. Ex. 46: Sep. 9, 2013 press release published by Theranos,
                             Inc. entitled, “Theranos Selects Walgreens as a Long-Term Partner
10                           Through Which to Offer Its New Clinical Laboratory Service” from
                             Theranos’s website [also accessible at
11                           https://news.theranos.com/2013/09/09/theranos-selects-walgreens-as-a-
12                           long-term-partner-through-which-to-offer-its-new-clinical-laboratory-
                             service/];
13
          Documents Produced by Direct Purchaser Fund Pertaining to Identification of Class
14
               Exhibit CC:   Redacted list of investors in                                contained in
15                           Schedule A, “Partnership Information” of the Limited Partnership
                             Agreement of                             L.P., dated Apr. 17, 2013, Bates-
16                           numbered       000072-        000076, produced in this action and
17                           designated “CONFIDENTIAL” pursuant to the protective order in this
                             action;
18
               Exhibit DD:   List of investors for Lucas Venture Group XI, Bates-numbered
19                           LVG_COLMAN00006817-LVG_COLMAN00006820, produced in this
                             action and designated “HIGHLY CONFIDENTIAL – ATTORNEYS’
20                           EYES ONLY” pursuant to the protective order in this action;
21
               Exhibit EE:   List of investors for                   Bates-numbered
22                           LVG_COLMAN00006830, LVG_COLMAN00006871;
                             LVG_COLMAN00006873; LVG_COLMAN00006875;
23                           LVG_COLMAN00006877, produced in this action and designated
                             “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant
24
                             to the protective order in this action;
25
               Exhibit FF:   List of investors for                                      , contained in
26                           document entitled “Schedule I Series C-1 Preferred Stock Financing,
                             Bates-numbered        000001, produced in this action and designated
27                           “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant
                             to the protective order in this action;
28

     DECL. OF REED R. KATHREIN ISO PLS.’ MOT. FOR CLASS CERTIFICATION - 5:16-cv-06822-NC                 -5-
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     * REDACTED VERSION OF DOCUMENT(S) SOUGHT TO BE SEALED *

 1
               Exhibit GG:   Redacted list of investors from                         , Bates-numbered
 2                                  00052, produced in this action and designated as Protected
                             Material subject to the protective order in this action;
 3

 4             Exhibit HH:   Declaration of Matthew Larrabee, dated Jul. 10, 2017;

 5             Exhibit II:   Limited Partnership Agreement of                                 dated
                             April 17, 2013, including Schedule A, “Partnership Information”, Bates-
 6                           numbered       000001       000077, produced in this action and
                             designated “CONFIDENTIAL” pursuant to the protective order in this
 7
                             action;
 8
               Exhibit JJ:   Correspondence and investor information from
 9                           Bates-numbered          00003         00004;           00012-
                                     00013;        00046-        000052, produced in this action and
10                           designated as Protected Material subject to the protective order in this
11                           action;

12             Exhibit KK:   Investor information and agreements, including Limited Liability
                             Company Agreement for                                         , Bates-
13                           numbered       000001- 000069, produced in this action and designated
                             “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant
14                           to the protective order in this action;
15
               Exhibit LL:   The following documents related to Lucas Venture Group XI, LLC (“LVG
16                           XI”) and                                           produced in this
                             action and designated “HIGHLY CONFIDENTIAL – ATTORNEYS’
17                           EYES ONLY” pursuant to the protective order in this action;
18
                                Operating Agreement for LVG XI, Bates-numbered
19                               LVG_COLMAN00010869-LVG_COLMAN00010905;

20                              Subscription Agreement for LVG XI, Bates-numbered
                                 LVG_COLMAN00010775-LVG_COLMAN00010795;
21

22                              Limited Partnership Agreement for , Bates-numbered
                                 LVG_COLMAN00010813-LVG_COLMAN00010868; and
23
                                Subscription Documents for , Bates-numbered
24                               LVG_COLMAN00010796-LVG_COLMAN00010812;
25
               Exhibit MM: Limited Partnership Agreement for                              Bates-
26                         numbered        00001-        00038, produced in this action and designated
                           “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant
27                         to the protective order in this action;

28

     DECL. OF REED R. KATHREIN ISO PLS.’ MOT. FOR CLASS CERTIFICATION - 5:16-cv-06822-NC                -6-
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     * REDACTED VERSION OF DOCUMENT(S) SOUGHT TO BE SEALED *

 1             Exhibit NN:    Subscription Agreement for Celadon Technology Fund VII, LLC, Bates-
                              numbered TH-PLTF-001187-TH-PLTF-001203, produced in this action;
 2
          Class Representative Declarations
 3
               Exhibit OO:    Declaration of Robert Colman in Support of Class Certification;
 4

 5             Exhibit PP:    Declaration of Hilary Taubman-Dye in Support of Motion for Class
                              Certification;
 6
               Exhibit QQ:    Declaration of Thomas Brodie, M.D. in Support of Motion for Class
 7                            Certification;
 8
               Exhibit RR:    Declaration of Mai N. Pogue in Support of Motion for Class Certification;
 9
          Firm Résumes of Proposed Class Counsel
10
               Exhibit SS:    Firm Résumé for Hagens Berman Sobol Shapiro LLP; and
11
               Exhibit TT:    Firm Résumé for Robbins Geller Rudman & Dowd LLP.
12

13             I declare under penalty of perjury under the laws of the United States of America that the
14 foregoing is true and correct. Executed this 16th day of February, 2018, at Berkeley, California.

15

16                                                  By: /s/ Reed R. Kathrein
                                                            REED R. KATHREIN
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     DECL. OF REED R. KATHREIN ISO PLS.’ MOT. FOR CLASS CERTIFICATION - 5:16-cv-06822-NC              -7-
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                * REDACTED VERSION OF DOCUMENT(S) SOUGHT TO BE SEALED *

           1                                         CERTIFICATE OF SERVICE

           2              I hereby certify that on February 16, 2018, I authorized the electronic filing of the foregoing

           3 with the Clerk of the Court using the CM/ECF system which will send notification of such filing

           4 to the e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify

           5 that I caused to be mailed the foregoing document or paper via the United States Postal Service to

           6 the non-CM/ECF participants indicated on the attached Manual Notice List.

           7              I certify under penalty of perjury under the laws of the United States of America that the

           8 foregoing is true and correct. Executed on February 16, 2018.

           9                                                     By: /s/ Reed R. Kathrein
                                                                    Reed R. Kathrein (139304)
         10                                                         715 Hearst Ave., Suite 202
                                                                    Berkeley, CA 94710
         11                                                         Telephone: (510) 725-3000
                                                                    Facsimile: (510) 725-3001
         12                                                         reed@hbsslaw.com
         13

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11 1016012 V1                                                                                                         -1-
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